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b enc SDNY
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UNITED STATES DISTRICT COURT - SLE
SOUTHERN DISTRICT OF NEW YORK i ; BOC #s
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TRUSTEES OF THE OPERATING Pate FILED
ENGINEERS LOCAL 137, ET AL., :
Plaintiff(s), ORDER
v. —

CASABELLA CONTRACTING OF NY, INC., 21 CV 9212 (VB)

ET AL.,
Defendant(s).

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As discussed at a conference held today, at which counsel for plaintiffs and counsel for
defendant Frank Pignataro appeared, it is HEREBY ORDERED that by August 8, 2025, counsel
shall file a joint letter regarding:

(i) The status of the bankruptcy proceedings against defendants Laura Pignataro and
Casabella Contracting of NY, Inc., including the anticipated duration of the
bankruptcies;

(ii) - Whether the parties have engaged in further settlement discussions or wish to be
referred to mediation; and

(iii) | How the parties would like to proceed.

Dated: May 8, 2025
White Plains, NY SO ORDERED:

Vl |

Vincent L. Briccetti
United States District Judge

